Case 5:17-cr-04031-LTS-KEM   Document 269   Filed 04/30/18   Page 1 of 7
Case 5:17-cr-04031-LTS-KEM   Document 269   Filed 04/30/18   Page 2 of 7
Case 5:17-cr-04031-LTS-KEM   Document 269   Filed 04/30/18   Page 3 of 7
Case 5:17-cr-04031-LTS-KEM   Document 269   Filed 04/30/18   Page 4 of 7
Case 5:17-cr-04031-LTS-KEM   Document 269   Filed 04/30/18   Page 5 of 7
Case 5:17-cr-04031-LTS-KEM   Document 269   Filed 04/30/18   Page 6 of 7
Case 5:17-cr-04031-LTS-KEM   Document 269   Filed 04/30/18   Page 7 of 7
